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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   Kathy Dominguez,            )         Case No.CV 18-5553-JFW(Ex)
                                 )
12                  Plaintiff,   )         SCHEDULING AND CASE MANAGEMENT
                                 )         ORDER
13        v.                     )
                                 )
14   Kohls Department Stores,    )
     Inc., et al.,               )
15                               )
                    Defendants.  )
16   ___________________________ )
17        The purpose of this Order is to notify the parties and
18   their counsel of the deadlines and the schedule that will
19   govern this action.       SEE THE LAST PAGE OF THIS ORDER FOR THE
20   SPECIFIED DATES.      Ordinarily, the dates set forth on the last
21   page are determined after reviewing the parties’ Joint Report
22   or consultation with the parties at the Scheduling
23   Conference.     Accordingly, the dates and requirements are
24   firm.   The Court is very unlikely to grant continuances, even
25   if stipulated to by the parties, unless the parties establish
26   good cause through a concrete showing.            Because this Order in
27   some respects modifies the applicable Local Rules, counsel
28   are advised to read it carefully to avoid default on the
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 1   obligations established herein.           Counsel are advised to pay
 2   particular attention to the requirements of the Court with
 3   respect to electronic filing, the filing of motions for
 4   summary judgment, and the documents to be submitted at the
 5   Pre-Trial Conference and Trial.
 6   1.   ELECTRONIC FILING AND COURTESY COPIES
 7        All documents that are required to be filed in an
 8   electronic format pursuant to the Local Rules shall be filed
 9   electronically no later than 4:00 p.m. on the date due unless
10   otherwise ordered by the Court.           Any documents filed
11   electronically after 4:00 p.m. on the date due will be
12   considered late and may be stricken by the Court.               Any
13   documents that counsel attempt to file electronically which
14   are improperly filed will not be accepted by the Court.
15        Counsel are ORDERED to deliver 2 copies of all documents
16   filed electronically to Chambers.           For each document filed
17   electronically, one copy shall be marked “CHAMBERS COPY” and
18   the other copy shall be marked “COURTESY COPY.”              The
19   “CHAMBERS COPY” and “COURTESY COPY” are collectively referred
20   to herein as “Courtesy Copies.”           The Courtesy Copies of each
21   electronically filed document must include on each page the
22   running header created by the ECF system.             In addition, on
23   the first page of each Courtesy Copy, in the space between
24   lines 1 - 7 to the right of the center, counsel shall include
25   the date the document was e-filed and the document number.
26   The Courtesy Copies shall not be blue-backed.              All documents
27   must be stapled only in the left-hand corner, the electronic
28   proof of service must be attached as the last page of each

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 1   document, and the exhibits attached to any document must be
 2   tabbed.    Counsel shall not staple the “COURTESY COPY” and
 3   “CHAMBERS COPY” together.        The “COURTESY COPY” and “CHAMBERS
 4   COPY” of all documents must be three-hole punched at the left
 5   margin with the oversized 13/32" hole size, not the standard
 6   9/32" hole size.      The Courtesy Copies shall be delivered to
 7   Chambers no later than 10:00 a.m. on the next business day
 8   after the document was electronically filed.
 9        For any document that is not required to be filed
10   electronically, counsel are ORDERED to deliver 1 conformed
11   copy of the document, which shall be marked “COURTESY COPY,”
12   to Chambers at the time of filing.
13        When a proposed order accompanies an electronic filing, a
14   WordPerfect or Word copy of the proposed order, along with a
15   copy of the PDF electronically filed main document, shall be
16   e-mailed to JFW_Chambers@cacd.uscourts.gov.             The subject line
17   of the e-mail shall be in the following format: court’s
18   divisional office, year, case type, case number, document
19   control number assigned to the main document at the time of
20   filing, judge’s initials and filer’s (party) name.               Failure
21   to comply with this requirement may result in the denial or
22   striking of the request or the Court may withhold ruling on
23   the request until the Court receives the required documents.
24   2.   DISCOVERY
25        All discovery shall be completed by the discovery cut-off
26   date specified on the last page of this Order.              THIS IS NOT
27   THE DATE BY WHICH DISCOVERY REQUESTS MUST BE SERVED; IT IS
28   THE DATE BY WHICH ALL DISCOVERY, INCLUDING EXPERT DISCOVERY,

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 1   SHALL BE COMPLETED.       The Court does not enforce side
 2   agreements to conduct discovery beyond the discovery cut-off
 3   date.
 4        Any motion challenging the adequacy of responses to
 5   discovery must be heard sufficiently in advance of the
 6   discovery cut-off date to permit the responses to be obtained
 7   before that date if the motion is granted.
 8        In an effort to provide further guidance to the parties,
 9   the Court notes the following:
10        (a)   Depositions
11        All depositions shall be scheduled to commence
12   sufficiently in advance of the discovery cut-off date to
13   permit their completion and to permit the deposing party
14   enough time to bring any discovery motions concerning the
15   deposition prior to the cut-off date.
16        (b)   Written Discovery
17        All interrogatories, requests for production of
18   documents, and requests for admissions shall be served
19   sufficiently in advance of the discovery cut-off date to
20   permit the discovering party enough time to challenge (via
21   motion practice) responses deemed to be deficient.
22        (c)   Discovery Motions
23        Whenever possible, the Court expects the parties to
24   resolve discovery issues among themselves in a courteous,
25   reasonable, and professional manner.           If they do so, resort
26   to the Court for guidance in discovery is seldom necessary.
27   The Magistrate Judge assigned to this case will rule on
28   discovery motions and protective orders.

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 1        (d)   Expert Discovery
 2        If expert witnesses are to be called at trial, the
 3   parties shall designate affirmative experts to be called at
 4   trial and shall provide reports required by Fed.R.Civ.P.
 5   26(a)(2)(B) not later than eight weeks prior to the discovery
 6   cut-off date.     Rebuttal expert witnesses shall be designated
 7   and reports provided as required by Fed.R.Civ.P. 26(a)(2)(B)
 8   not later than five weeks prior to the discovery cut-off
 9   date.   Any non-retained expert designated by a party as an
10   affirmative or rebuttal expert shall also prepare and provide
11   an expert report in the form described by Fed.R.Civ.P.
12   26(a)(2)(B).     Expert witnesses will be bound by the opinions
13   expressed in their reports prepared in accordance with
14   Fed.R.Civ.P. 26(a)(2)(B) and will not be permitted to offer
15   new opinions at trial.        Failure to timely comply with this
16   deadline will result in the expert being excluded at trial as
17   a witness.
18   3.   MOTIONS - GENERAL PROVISIONS
19        All law and motion matters, except for motions in limine,
20   must be set for hearing (not filed) by the motion cut-off
21   date specified on the last page of this Order.              The Court
22   will deny or strike late-filed motions.            The title page of
23   all motions must state the hearing date and time for the
24   motion, the Pre-Trial Conference date, and the Trial date.
25        Once a party has noticed a motion for hearing on a
26   particular date, the hearing shall not be continued without
27   leave of Court. If the Court concludes that a motion can be
28   / / /

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 1   resolved without argument, the Court will notify the parties
 2   in advance.
 3        If counsel does not intend to oppose a motion, counsel
 4   shall immediately inform the Courtroom Deputy by e-mail and
 5   immediately file a Notice of Non-Opposition in accordance
 6   with the Local Rules.       The parties should note that failure
 7   to timely respond to any motion shall be deemed by the Court
 8   as consent to the granting of the motion.             See Local Rules.
 9        Ex parte practice is strongly discouraged.              The Court
10   will require strict adherence to proper ex parte procedures
11   for any ex parte application filed with the Court.               See Local
12   Rules and the Court’s Standing Order.
13        (a) Applications and Stipulations to Extend Time
14        No applications or stipulations extending the time to
15   file any required document or to continue any date are
16   effective unless and until the Court approves them.
17   Applications and/or stipulations to extend the time to file
18   any required document or to continue any hearing, Pre-Trial
19   date, or the Trial date must set forth the following:
20              (i)   the existing due date or hearing date, as well
21   as all dates currently set by the Court in this Order,
22   including the discovery cut-off date, the Pre-Trial
23   Conference date, and the Trial date;
24              (ii) the new dates proposed by the parties;
25              (iii) specific, concrete reasons supporting good
26   cause for granting the extension; and
27   / / /
28   / / /

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 1              (iv) whether there have been prior requests for
 2   extensions by any party, and whether those requests were
 3   granted or denied by the Court.
 4        All applications and stipulations must be accompanied by
 5   a separate and independent proposed order which must be
 6   submitted to the Court in accordance with the Local Rules and
 7   this Order.     Failure to submit a separate proposed order may
 8   result in the denial of the application or stipulation or the
 9   Court may withhold ruling on the application or stipulation
10   until the Court receives a separate proposed order.
11        (b) Joinder of Parties and Amendment of Pleadings
12        The deadline for joining parties and amending pleadings
13   is sixty days from the date of this Order.             Any motions to
14   join other parties or for leave to amend the pleadings shall
15   be filed within twenty days of the date of this Order so that
16   they can be heard and decided prior to the deadline.
17        In addition to the requirements of the Local Rules, all
18   motions to amend the pleadings shall: (1) state the effect of
19   the amendment; and (2) state the page, line number(s), and
20   wording of any proposed change or addition of material.                The
21   parties shall file and deliver to Chambers a redlined version
22   of the proposed amended pleading indicating all additions
23   and/or deletions of material.
24        (c) Withdrawal or Substitution of Counsel
25        The Court will not grant a request for approval of
26   substitution of counsel after an action has been set for
27   trial unless: (1) counsel files the request using the most
28   recent version of the appropriate forms provided on the

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 1   Court’s website; and (2) the request is accompanied by a
 2   declaration signed by a substituting attorney indicating that
 3   such attorney has been advised of the trial date and will be
 4   prepared to proceed with trial as scheduled.             Any request for
 5   substitution of counsel which is not on the proper form or is
 6   not accompanied by a declaration signed by a substituting
 7   attorney as set forth above will be denied.
 8        Counsel who wish to withdraw and substitute their client
 9   pro se must file a regularly noticed motion to withdraw which
10   demonstrates good cause for the request to withdraw.                The
11   Court will not consider such a motion unless: (1) the motion
12   is accompanied by a declaration signed by the client
13   indicating that the client consents to the withdrawal, has
14   been advised of the time and date of trial, and will be
15   prepared to represent themselves pro se on the scheduled
16   trial date; or (2) the Court is otherwise satisfied for good
17   cause shown that the attorney should be permitted to
18   withdraw.
19   4.   SUMMARY JUDGMENT MOTIONS
20        The Court will only entertain ONE summary judgment motion
21   by a party.     In the event a party believes that more than one
22   summary judgment motion is necessary to expedite the
23   resolution of issues in the action, the party must obtain
24   leave of court to file more than one summary judgment motion.
25   The Court will require strict adherence to the following
26   requirements:
27   / / /
28   / / /

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 1        (a) Statement Of Uncontroverted Facts and Conclusions of
 2              Law and Statement of Genuine Disputes of Material
 3              Fact
 4        The Statement of Uncontroverted Facts and Conclusions of
 5   Law is to be prepared in a two column format.              The left hand
 6   column should set forth the allegedly undisputed fact or
 7   conclusion or law.      The right hand column should set forth
 8   the evidence that supports the factual statement or
 9   conclusion of law.      The factual statements and conclusions of
10   law should be set forth in sequentially numbered paragraphs.
11   Each paragraph should contain a narrowly focused statement of
12   fact or conclusion of law.         Each numbered paragraph should
13   address a single subject in as concise a manner as possible.
14        The opposing party’s Statement of Genuine Disputes of
15   Material Fact must track the movant’s Statement of
16   Uncontroverted Facts exactly as prepared.             The document must
17   be in two columns; the left hand column must restate the
18   allegedly undisputed fact, and the right hand column must
19   restate the moving party’s evidence in support of the fact,
20   and indicate either undisputed or disputed.             The opposing
21   party may dispute all or only a portion of the statement, but
22   if disputing only a portion, must clearly indicate what part
23   is being disputed.      Where the opposing party is disputing the
24   fact in whole or part, the opposing party must, in the right
25   hand column, set forth the evidence controverting the fact.
26   Where the opposing party is disputing the fact on the basis
27   of an evidentiary objection, the party must cite to the
28   evidence alleged to be objectionable and state the ground of

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 1   the objection and nothing more.            Counsel are reminded that
 2   unwarranted factual denials made in the context of a Summary
 3   Judgment Motion are subject to Rule 11 sanctions.               No
 4   argument should be set forth in this document.
 5         The opposing party may submit additional material facts
 6   that bear on or relate to the issues raised by the movant,
 7   which shall follow the format described above for the moving
 8   party’s Statement of Uncontroverted Facts.             These additional
 9   facts shall follow the movant’s facts, shall continue in
10   sequentially numbered paragraphs (i.e., if movant’s last
11   statement of fact was set forth in paragraph 30, then the
12   first new fact will be set forth in paragraph 31), and the
13   evidence that supports the new fact shall be set forth in the
14   right hand column.
15         The moving party, together with its reply, shall file a
16   separate document entitled “Combined Statement of Facts” that
17   (1) restates the entirety of the opposing party’s Statement
18   of Genuine Disputes of Material Fact and (2) responds to any
19   additional facts in the same manner and format that the
20   opposing party must follow in responding to the Statement of
21   Uncontroverted Facts, as described above.
22         (b) Supporting Evidence
23         No party should submit any evidence other than the
24   specific items of evidence or testimony necessary to support
25   or controvert a proposed statement of undisputed fact.                 Thus,
26   for example, entire sets of interrogatory responses, or
27   documents that do not specifically support or controvert
28   material in the Statements should not be submitted in support

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 1   of or in opposition to a motion for summary judgment.                Any
 2   such material will not be considered.
 3         Evidence submitted in support of or in opposition to a
 4   motion for summary judgment should be submitted either by way
 5   of stipulation or as exhibits to declarations sufficient to
 6   authenticate the proffered evidence, and should not be
 7   attached to the memorandum of points and authorities.                The
 8   Court will accept counsel’s authentication of deposition
 9   transcripts, written discovery responses, and the receipt of
10   documents in discovery if the fact that the document was in
11   the opponent’s possession is of independent significance.
12   Documentary evidence as to which there is no stipulation
13   regarding foundation must be accompanied by the testimony,
14   either by declaration or properly authenticated deposition
15   transcript, of a witness who can establish its authenticity.
16         All exhibits submitted in support of, and in opposition
17   to, a motion for summary judgment shall be consecutively
18   numbered; no two exhibits shall bear the same number.                For
19   example, if the moving party submits one declaration and one
20   request for judicial notice, with four exhibits attached to
21   each document, the exhibits attached to the declaration shall
22   be marked 1 through 4, and the exhibits attached to the
23   request for judicial notice shall be marked 5 through 8.                   The
24   opposing party’s exhibits shall then commence with number 9.
25   Immediately above or below the page number on each page of an
26   exhibit, the parties shall mark “[Party Name]’s Summary
27   Judgment Exhibit No. __”.
28   / / /

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 1         In addition to the foregoing, any party who offers
 2   deposition testimony in support of or in opposition to a
 3   motion for summary judgment shall prepare and file a separate
 4   document for each deponent which contains only those
 5   questions and answers, and any objections made at the time of
 6   the deposition to those questions, that a party is relying on
 7   to support their motion, with a citation to the appropriate
 8   page and line number(s) in the deposition transcript.
 9         The parties shall also deliver to chambers (but not file)
10   one copy of the entire deposition transcript (single-sided
11   condensed transcript including the word index) of each
12   deposition referenced.        The deposition transcripts shall be
13   placed in a slant D-ring binder with each transcript
14   separated by a tab divider on the right side and three-hole
15   punched at the left margin with the oversized 13/32" hole
16   size, not the standard 9/32" hole size.             The deposition
17   transcript binder shall include a Table of Contents and the
18   spine of each binder shall be labeled with its contents.
19         The Court’s Courtesy Copies of all evidence in support of
20   or in opposition to a motion for summary judgment shall be
21   submitted in a separately bound compendium and shall include
22   a Table of Contents.        If the supporting evidence exceeds
23   twenty-five pages, each Courtesy Copy of the supporting
24   evidence shall be placed in a slant D-ring binder with each
25   item of evidence separated by a tab divider on the right
26   side.    All documents contained in the binder must be three-
27   hole punched with the oversized 13/32" hole size, not the
28   / / /

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 1   standard 9/32" hole size. The spine of each binder shall be
 2   labeled with its contents.
 3         In addition to the foregoing, the parties shall meet and
 4   confer and prepare two binders, one binder containing a joint
 5   set of all exhibits relied on by the parties in support of
 6   and in opposition to the motion for summary judgment (“Joint
 7   Exhibit Binder”), and the other binder containing a joint set
 8   of all declarations relied on by the parties in support of
 9   and in opposition to the motion for summary judgment (“Joint
10   Declarations Binder”).        The parties shall file the Joint Set
11   of Exhibits with a cover page titled “Joint Set of Exhibits”
12   and the Joint Set of Declarations with a cover page titled
13   “Joint Set of Declarations” with the Reply.              The parties
14   shall also deliver to Chambers two copies of both the Joint
15   Exhibit Binder and Joint Declarations Binder in accordance
16   with paragraph 1 of this Order, one set of which shall be
17   marked “CHAMBERS COPY,” and the other set of which shall be
18   marked “COURTESY COPY.”
19         The Joint Exhibit Binder and Joint Declarations Binder
20   shall include a Table of Contents, and the spine of each
21   binder shall be labeled with its contents.             The Table of
22   Contents for the Joint Exhibit Binder and Joint Declarations
23   Binder shall specifically describe each summary judgment
24   exhibit or declaration and include a citation to each
25   paragraph number in the Combined Statement of Facts that
26   refers to the exhibit or declaration (e.g. Plaintiff’s
27   Summary Judgment Exhibit No. 1 - Letter from John Doe to Jane
28   Doe dated January 1, 2007 Re: Reasons for Jane Doe’s

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 1   termination) (Combined Statement of Facts Nos. 2, 8, 10).                    In
 2   preparing the Table of Contents, counsel should not create a
 3   new set of exhibit numbers.         Counsel shall use the same
 4   exhibit numbers that were used to identify the documents in
 5   the Motion for Summary Judgment.
 6         (c) Objections to Evidence
 7         If a party disputes a fact based in whole or in part on
 8   an evidentiary objection, the ground for the objection, as
 9   indicated above, should be stated in the Statement of Genuine
10   Disputes of Material Fact or Combined Statement of Facts but
11   not argued in that document.          Evidentiary objections are to
12   be addressed in a separate memorandum to be filed with the
13   opposition or reply brief of the party.             This memorandum
14   should be organized to track the paragraph numbers of the
15   Statement of Genuine Disputes of Material Fact or Combined
16   Statement of Facts in sequence.            It should identify the
17   specific item of evidence to which objection is made, or in
18   the case of deposition testimony it should quote the relevant
19   testimony, the ground for the objection, and a very brief
20   argument with citation to authority as to why the objection
21   is well taken.      The following is an example of the format
22   required by the Court:
23         Combined Statement of Facts Paragraph 10: Objection to
24         the supporting deposition testimony of Jane Smith [quote
25         testimony] at 60:1-10 on the grounds that the statement
26         constitutes inadmissible hearsay and no exception is
27         applicable.     To the extent it is offered to prove her
28   / / /

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 1         state of mind, it is irrelevant because her state of mind
 2         is not in issue.      Fed. R. Evid. 801, 802.
 3   DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE
 4   OPPONENT’S STATEMENT OF FACTS. THESE WILL BE DISREGARDED AND
 5   OVERRULED.
 6         (d) The Memorandum of Points and Authorities
 7         The movant’s memorandum of points and authorities should
 8   be in the usual form required under Local Rules and should
 9   contain a narrative statement of facts as to those aspects of
10   the case that are before the Court.           All facts should be
11   supported with citations to the paragraph number in the
12   Statement of Uncontroverted Facts that supports the factual
13   assertion and not to the underlying evidence.
14         Unless the case involves some unusual twist, the motion
15   need only contain a brief statement of the Fed.R.Civ.P. 56
16   standard; the Court is familiar with the Rule and with its
17   interpretation under Celotex and its progeny.              If at all
18   possible, the argument should be organized to focus on the
19   pertinent elements of the claim(s) for relief or defense(s)
20   in issue, with the purpose of showing the existence or non-
21   existence of a genuine issue of material fact for trial on
22   that element of the claim or defense.
23         Likewise, the opposition memorandum of points and
24   authorities should be in the usual form required by the Local
25   Rules.    Where the opposition memorandum sets forth facts,
26   those facts should be supported with citations to the
27   paragraph number in the Statement of Genuine Disputes of
28   Material Fact and not to the underlying evidence.

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 1         (e) Proposed Statement of Decision
 2         Within two days of the deadline for filing the Reply,
 3   each party shall lodge a Proposed Statement of Decision,
 4   which shall contain a statement of the relevant facts and
 5   applicable law with citations to case law and the record.
 6   The Proposed Statement of Decision shall not exceed fifteen
 7   pages and shall be in a form that would be appropriate for
 8   the Court to enter as its final order on the motion.                The
 9   Proposed Statement of Decision shall be submitted to the
10   Court in accordance with the Local Rules.             Failure to lodge
11   the Proposed Statement of Decision will result in the denial
12   or granting of the motion.
13         (f) Timing
14         Parties should not wait until the motion cut-off date to
15   bring motions for summary judgment or partial summary
16   judgment.     Early completion of non-expert discovery and
17   filing of motions for summary judgment may eliminate or
18   reduce the need for expensive expert depositions which are
19   normally conducted in the last stages of discovery.
20         Caveat:    Failure of the moving party to comply with these
21   procedures regarding summary judgment motions will result in
22   the denial of the Motion for Summary Judgment.              If a party
23   fails to respond to a Motion for Summary Judgment, the Court
24   will assume that the material facts as claimed and adequately
25   supported by the moving party are admitted to exist without
26   controversy, which will likely result in the granting of the
27   Motion for Summary Judgment.
28   / / /

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 1   5.    MOTIONS IN LIMINE
 2         The Court will only entertain a maximum of five motions
 3   in limine by a party.        In the event a party believes that
 4   more than five motions in limine are necessary, the party
 5   must obtain leave of Court to file more than five motions in
 6   limine.    The Court will not hear or resolve motions in limine
 7   that are disguised summary judgment motions.              No application
 8   to file under seal will be granted with respect to a motion
 9   in limine or any documents submitted with the motion in
10   limine.
11         Before filing any motion in limine, lead counsel for the
12   parties shall confer in a good faith effort to eliminate the
13   necessity for hearing the motion in limine or to eliminate as
14   many of the disputes as possible.           It shall be the
15   responsibility of counsel for the moving party to arrange for
16   this conference.      The conference shall take place in person
17   within ten calendar days of service upon opposing counsel of
18   a letter requesting such conference, but in no event later
19   than twenty-one days before the Pre-Trial Conference.                Unless
20   counsel agree otherwise, the conference shall take place at
21   the office of the counsel for the moving party.               If both
22   counsel are not located in the same county in the Central
23   District, the conference may take place by telephone.                The
24   moving party’s letter shall identify the testimony, exhibits,
25   or other specific matters alleged to be inadmissible and/or
26   prejudicial, shall state briefly with respect to each such
27   matter the moving party’s position (and provide any legal
28   / / /

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 1   authority which the moving party believes is dispositive),
 2   and shall specify the terms of the order to be sought.
 3         If counsel are unable to resolve their differences, they
 4   shall prepare and file a separate, sequentially numbered
 5   Joint Motion in Limine for each issue in dispute which
 6   contains a clear caption which identifies the moving party
 7   and the nature of the dispute (e.g., “Plaintiff’s Motion in
 8   Limine #1 to exclude the testimony of Defendant’s expert”).
 9   Each Joint Motion in Limine shall consist of one document
10   signed by all counsel.        The Joint Motion in Limine shall
11   contain a clear identification of the testimony, exhibits, or
12   other specific matters alleged to be inadmissible and/or
13   prejudicial and a statement of the specific prejudice that
14   will be suffered by the moving party if the motion is not
15   granted.    The identification of the matters in dispute shall
16   be followed by each party’s contentions and each party’s
17   memorandum of points and authorities.            The title page of the
18   Joint Motion in Limine must state the Pre-Trial Conference
19   date, hearing date for the motions in limine, and Trial date.
20         Joint Motions in Limine made for the purpose of
21   precluding the mention or display of inadmissible and/or
22   prejudicial matter in the presence of the jury shall be
23   accompanied by a declaration that includes the following:
24   (1) a clear identification of the specific matter alleged to
25   be inadmissible and/or prejudicial; (2) a representation to
26   the Court that the subject of the motion in limine has been
27   discussed with opposing counsel, and that opposing counsel
28   has either indicated that such matter will be mentioned or

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 1   displayed in the presence of the jury before it is admitted
 2   in evidence or that counsel has refused to stipulate that
 3   such matter will not be mentioned or displayed in the
 4   presence of the jury unless and until it is admitted in
 5   evidence; and (3) a statement of the specific prejudice that
 6   will be suffered by the moving party if the motion in limine
 7   is not granted.
 8         Unless ordered by the Court, no supplemental or separate
 9   memorandum of points and authorities shall be filed by either
10   party in connection with any motion in limine.
11         The Court’s Courtesy Copies of all evidence in support of
12   or in opposition to a motion in limine, including
13   declarations and exhibits to declarations, shall be submitted
14   in a separately bound volume and shall include a Table of
15   Contents.     If the supporting evidence exceeds twenty-five
16   pages, each Courtesy Copy of the supporting evidence shall be
17   placed in a slant D-ring binder with each item of evidence
18   separated by a tab divider on the right side, and the spine
19   of the binder shall be labeled with its contents.               All
20   documents contained in the binder must be three-hole punched
21   with the oversized 13/32" hole size, not the standard 9/32"
22   hole size.
23         The Court will not consider any motion in limine in the
24   absence of a joint motion or a declaration from counsel for
25   the moving party establishing that opposing counsel: (a)
26   failed to confer in a timely manner; (b) failed to provide
27   the opposing party’s portion of the joint motion in a timely
28   / / /

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 1   manner; or (c) refused to sign and return the joint motion
 2   after the opposing party’s portion was added.
 3         Unless otherwise ordered by the Court, motions in limine
 4   should be filed and will be heard on the dates specified on
 5   the last page of this Order.          Unless the Court in its
 6   discretion otherwise allows, no motions in limine shall be
 7   filed or heard on an ex parte basis, absent a showing of
 8   irreparable injury or prejudice not attributable to the lack
 9   of diligence of the moving party.
10         The failure of any counsel to comply with or cooperate in
11   the foregoing procedures will result in the imposition of
12   sanctions, including a resolution of the issue against the
13   party refusing to cooperate.
14   6.    PRE-TRIAL CONFERENCE AND LOCAL RULE 16 FILINGS
15         (a) General Provisions
16         The Pre-Trial Conference (“PTC”) will be held on the date
17   specified on the last page of this Order, unless the Court
18   expressly waived a PTC.        If adjustments in the Court’s
19   calendar to accommodate congestion become necessary, the
20   Court may re-schedule the PTC instead of the trial date.
21   Therefore, the parties should assume that if the PTC goes
22   forward, the trial will go forward without continuance,
23   although some brief period of trailing may prove necessary.
24         The lead trial attorney on behalf of each party shall
25   attend both the PTC and all meetings of the parties in
26   preparation for the PTC, unless excused for good cause shown
27   in advance of the PTC.
28   / / /

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 1         A continuance of the PTC at the parties’ request or by
 2   stipulation is highly unlikely.            Specifically, failure to
 3   complete discovery is not a ground for continuance.                 In the
 4   unlikely event that the Court agrees to continue the PTC, the
 5   trial date is likely to be delayed as a result.               If a change
 6   in the trial date is necessitated or likely because of the
 7   Court’s calendar or otherwise, modifications of that date
 8   will be discussed at the PTC.
 9         At the PTC, the parties should be prepared to discuss
10   means of streamlining the trial, including, but not limited
11   to:     bifurcation; presentation of foundational and non-
12   critical testimony and direct testimony by deposition
13   excerpts; narrative summaries and/or stipulations as to the
14   content of testimony; presentation of testimony on direct
15   examination by affidavit or by declaration subject to cross-
16   examination; and qualification of experts by admitted
17   resumes.     The Court will also discuss settlement.
18         (b)   Form of Pre-Trial Conference Order (“PTCO”)
19         The proposed PTCO shall be filed by the date specified on
20   the last page of this Order.          Adherence to this time
21   requirement is necessary for in-chambers preparation of the
22   matter.     The PTCO shall include the date of the L.R. 16-2
23   conference and the names of each attorney in attendance at
24   the L.R. 16-2 conference.         The form of the proposed PTCO
25   shall comply with Appendix A to the Local Rules and the
26   following:
27   / / /
28   / / /

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 1              (i) Place in “ALL CAPS” and in bold the separately
 2   numbered headings for each category in the PTCO (e.g., “1.
 3   THE PARTIES” or “7.       CLAIMS AND DEFENSES OF THE PARTIES”).
 4              (ii) Include a Table of Contents at the beginning.
 5              (iii) In specifying the surviving pleadings, state
 6   which claims or counterclaims have been dismissed or
 7   abandoned (e.g.,“Plaintiff’s second cause of action for
 8   breach of fiduciary duty has been dismissed.”). Also, in
 9   multiple party cases where not all claims or counterclaims
10   will be prosecuted against all remaining parties on the other
11   side, specify to which party each claim or counterclaim
12   is directed.
13              (iv) In drafting the PTCO, the Court expects that
14   the parties will attempt to agree on and set forth as many
15   uncontested facts as possible.             A carefully drafted and
16   comprehensively stated stipulation of facts will assist the
17   Court in preparing for the Pre-Trial Conference.
18              (v) In specifying the parties’ claims and defenses
19   in Section 7 of the PTCO, each party shall closely follow the
20   examples set forth in Appendix A of the Local Rules.
21              (vi) The Court may submit fact issues to the jury in
22   the form of findings on a special verdict form.               The issues
23   of fact should track the elements of a claim or defense on
24   which the jury will be required to make findings.
25              (vii) If expert witnesses are to be called at trial,
26   each party must list and identify its respective expert
27   witnesses, both retained and non-retained.             Failure of a
28   party to list and identify an expert witness in the PTCO

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 1   shall preclude the party from calling that expert witness at
 2   trial.
 3         (c) Rule 16 Filings; Memoranda; Witness Lists; Exhibit
 4              Lists
 5         The parties must comply fully with the requirements of
 6   Local Rule 16.      They shall file carefully prepared Memoranda
 7   of Contentions of Fact and Law (which may also serve as the
 8   trial brief), along with their respective Witness Lists and
 9   Exhibit Lists, all in accordance with the Local Rules.                 See
10   the last page of this Order for applicable dates.
11         (d) Summary of Witness Testimony and Time Estimates
12         Counsel shall prepare a list of their witnesses,
13   including a brief summary (two to three paragraphs) of each
14   witness’s expected testimony, an estimate of the length of
15   time needed for direct examination, and whether the witness
16   will testify by deposition or in person.             Counsel shall
17   exchange these lists with opposing counsel.              Counsel shall
18   jointly file a single list of witness testimony summaries,
19   including estimates for direct examination of their own
20   witnesses and estimates for cross-examination of opposing
21   witnesses.     The joint witness testimony summaries shall be
22   filed at the same time counsel submit the PTCO.               If a party
23   intends to offer deposition testimony into evidence at trial,
24   the party shall comply with the Local Rules.
25         (e) Pre-Trial Exhibit Stipulation
26         The parties shall prepare a Pre-Trial Exhibit Stipulation
27   which shall contain each party’s numbered list of all trial
28   exhibits, with objections, if any, to each exhibit including

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 1   the basis of the objection and the offering party’s response.
 2   All exhibits to which there is no objection shall be deemed
 3   admitted.       The parties shall also identify each witness they
 4   anticipate will testify about and/or lay the foundation for
 5   the exhibit.        All parties shall stipulate to the authenticity
 6   of exhibits whenever possible, and the Pre-Trial Exhibit
 7   Stipulation shall identify any exhibits for which
 8   authenticity has not been stipulated to and the specific
 9   reasons for the party’s failure to stipulate.
10            The Pre-Trial Exhibit Stipulation shall be substantially
11   in the following form:
12                            Pre-Trial Exhibit Stipulation
13   Plaintiff(s)’ Exhibits
14   Number    Description   Witness   If Objection, State Grounds   Response to Objection

15   Defendant(s)’ Exhibits
16   Number    Description   Witness   If Objection, State Grounds   Response to Objection

17            The Pre-Trial Exhibit Stipulation shall be filed at the
18   same time counsel file the PTCO.                Failure to comply with this
19   paragraph shall constitute a waiver of all objections.
20   DO NOT SUBMIT BLANKET OR BOILERPLATE OBJECTIONS TO THE
21   OPPOSING PARTY’S EXHIBITS. THESE WILL BE DISREGARDED AND
22   OVERRULED.
23            (f) Jury Instructions, Verdict Forms, Special
24                 Interrogatories
25            Fourteen days before the required Local Rule 16-2
26   meeting, the parties shall exchange proposed jury
27   instructions, verdict forms, and, if necessary, special
28   interrogatories.          Seven days before the meeting, counsel

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 1   shall exchange written objections, if any, to the proposed
 2   jury instructions, verdict forms, and special
 3   interrogatories.      At the required       meeting, lead counsel
 4   shall confer with the objective of submitting one set of
 5   agreed upon instructions, a verdict form, and, if necessary,
 6   special interrogatories.
 7         If lead counsel agree upon one complete set of jury
 8   instructions, they shall file a joint set of proposed jury
 9   instructions, arranged in a logical sequence with each
10   instruction sequentially numbered, and identified as
11   “Stipulated Instruction No. __ Re ______,” with the blanks
12   filled in as appropriate.         If the parties cannot agree upon
13   one complete set of jury instructions, they shall file the
14   following two joint documents with the Court:
15              (i)    A joint set of proposed jury instructions
16   arranged in a logical sequence with each instruction
17   sequentially numbered.        If undisputed, an instruction shall
18   be identified as “Stipulated Instruction No. __ Re ________,”
19   with the blanks filled in as appropriate.             If disputed, each
20   alternate version of the disputed instruction shall be
21   inserted together (back to back) in their logical place in
22   the overall sequence.        Each such disputed instruction shall
23   be identified as “Disputed Instruction No. __ Re ________
24   Proposed By      ________,” with the blanks filled in as
25   appropriate.      All disputed versions of an instruction shall
26   bear the same instruction number.           If a party does not have a
27   counter-version of an instruction and simply contends no such
28   instruction should be given, then that party should so state

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 1   (and explain why) on a separate page inserted in lieu of an
 2   alternate version; and
 3              (ii)    A joint memorandum of law in support of each
 4   party’s disputed instructions, organized by instruction
 5   number.    The joint memorandum of law shall quote the text of
 6   each disputed instruction and shall set forth each party’s
 7   respective position and legal authority, immediately after
 8   the text of each disputed instruction.
 9         Each proposed instruction, whether agreed upon or
10   disputed, shall (a) be set forth in full on a separate page;
11   (b) embrace only one subject or principle of law; (c) cite to
12   the legal authority for or source of the instruction; and (d)
13   reference the claim for relief to which the instruction
14   relates with a citation to Section 7 of the PTCO.
15          A Table of Contents shall be included with all jury
16   instructions submitted to the Court.            The Table of Contents
17   shall set forth the following:
18              (i)     The number of the instruction;
19              (ii)    A brief title of the instruction;
20              (iii) Whether it is undisputed or disputed;
21              (iv)    The source of the instruction; and
22              (v)     The page number of the instruction.
23   For example:
24   Number     Title                   Source                 Page No.
25
26   1          Burden of Proof         9th Cir. Man.              5
                (Undisputed)            of Model Jury
27                                      Instr. 5.1
28

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 1         The Court directs counsel to use the instructions from
 2   the Ninth Circuit Manual of Model Jury Instructions (West
 3   Publishing, most recent edition) where applicable.               Where
 4   California law is to be applied and the above instructions
 5   are not applicable, the Court prefers counsel to use the
 6   Judicial Council of California Civil Jury Instructions
 7   (“CACI”) (LexisNexis Matthew Bender, most recent edition).
 8   If neither of these sources is applicable, counsel are
 9   directed to use the instructions from O’Malley, Grenig and
10   Lee, Federal Jury Practice and Instructions (West Group, most
11   recent edition).      Any modifications made to the original form
12   instruction from the foregoing sources (or any other form
13   instructions) must be specifically identified, along with the
14   authority supporting the modification.            Counsel shall not
15   submit proposed preliminary instructions to be given to the
16   jury prior to opening statements.
17         If the parties agree upon a verdict form and/or special
18   interrogatories, they shall file a joint verdict form and/or
19   special interrogatories, with the questions arranged in a
20   logical sequence.       If the parties cannot agree upon a verdict
21   form and/or special interrogatories, they shall file a joint
22   document containing each party’s alternative version along
23   with a brief explanation of each party’s respective position.
24         The joint set of proposed jury instructions, the joint
25   memorandum of law, and verdict form(s) and/or special
26   interrogatories are to be filed with the PTCO and other Local
27   Rule 16 documents.       Courtesy Copies shall be provided to the
28   Court in accordance with Section 1 of this Order.               In

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 1   addition, the parties shall e-mail the joint set of proposed
 2   jury instructions, joint memorandum of law, and verdict
 3   form(s) and/or special interrogatories in WordPerfect or Word
 4   format to the Chambers’ e-mail address
 5   (JFW_Chambers@cacd.uscourts.gov) at the time of filing.
 6         Immediately after the Court’s final ruling on the
 7   disputed jury instructions, counsel shall file one final
 8   “clean set” of jury instructions, which shall be sent into
 9   the jury room for the jury’s use during deliberations.                 The
10   “clean set” shall contain only the text of each instruction
11   set forth in full on each page, with the caption “Court’s
12   Instruction No. ___” (eliminating supporting authority,
13   citations to the PTCO, etc.).          Counsel shall also e-mail the
14   final “clean set” of jury instructions in WordPerfect or Word
15   format to the Chambers’ e-mail address
16   (JFW_Chambers@cacd.uscourts.gov) at the time of filing.
17         Caveat:    The failure of any counsel to comply with or
18   cooperate in all of the foregoing procedures regarding jury
19   instructions and/or verdict forms will constitute a waiver of
20   all objections to the jury instructions and/or verdict form
21   used by the Court or will constitute a waiver of jury trial
22   and/or the striking of the jury demand.
23         (g) Real-Time Reporting Requirement
24         Each party must file with the Court, at the same time
25   counsel submit the PTCO, a document for the Court Reporter
26   which contains proper names, unusual or scientific terms, or
27   any foreign or uncommon words that are likely to be used by
28   the parties during the PTC and the Trial.             Each party shall

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 1   also e-mail a copy of the document to the Chambers’ e-mail
 2   address (JFW_Chambers@cacd.uscourts.gov) at the time of
 3   filing.
 4         (h) Joint Statement of the Case and Requests for Voir
 5              Dire
 6         Three days prior to the Pre-Trial Conference, the parties
 7   shall file their proposed voir dire questions and their joint
 8   statement of the case which the Court shall read to all
 9   prospective jurors prior to the commencement of voir dire.
10   The statement should be not longer than two or three
11   paragraphs.
12         The Court conducts voir dire of all prospective jurors.
13   The parties need not submit requests for standard voir dire
14   questions, such as education, current occupation, marital
15   status, prior jury service, etc., but should include only
16   proposed questions specifically tailored to the parties and
17   issues of the case.
18   7.    COURT TRIALS
19         (a) Declarations of Witness Direct Testimony
20         Counsel in non-jury trials shall submit the direct
21   testimony of their witnesses in writing in a declaration
22   executed under penalty of perjury.           These declarations shall
23   be in admissible form with an appropriate foundation
24   established for the declarant’s statements.              Paragraphs in
25   each declaration shall be numbered consecutively to
26   facilitate the identification of paragraphs for evidentiary
27   objections.     Any exhibits which are attached to a witness
28   / / /

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 1   declaration shall be numbered consistently with the number of
 2   the exhibit on the Joint Exhibit List.
 3         Counsel are to exchange and file these declarations at
 4   least fourteen calendar days before trial, unless otherwise
 5   ordered by the Court.        Courtesy Copies shall be provided to
 6   the Court in accordance with Section 1 of this Order.
 7   Courtesy Copies shall be submitted to the Court in a slant D-
 8   ring binder with each declaration separated by a tab divider
 9   on the right side.       All documents must be three-hole punched
10   with the oversized 13/32" hole size, not the standard 9/32"
11   hole size.     The binders shall also contain a Table of
12   Contents listing the declarations contained therein, and the
13   spine of the binder shall be labeled with its contents.
14         Eight calendar days before trial, counsel may file
15   evidentiary objections to those declarations.              Counsel shall
16   prepare a separate document for each declaration for which
17   they have an evidentiary objection in which they shall quote
18   the specific language from the declaration to which they
19   object, followed by the objection and any relevant argument.
20   Counsel shall file any reply or response to the objections by
21   noon on the fifth calendar day before trial.              Courtesy Copies
22   shall be provided to the Court in accordance with Section 1
23   of this Order.      DO NOT SUBMIT BLANKET OR BOILERPLATE
24   OBJECTIONS TO THE OPPOSING PARTY’S WITNESS DECLARATIONS.
25   THESE WILL BE DISREGARDED AND OVERRULED.
26         At trial, the Court will rule on the evidentiary
27   objections and, depending upon the ruling, the declarations
28   will be received in evidence, either in whole or in part, or

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 1   rejected.     Counsel will then conduct the cross-examination
 2   and re-direct examination at trial.
 3         Failure to comply with the terms of this Order will
 4   result in sanctions or the Court may refuse to allow that
 5   witness to testify.
 6         (b) Trial Briefs
 7         Counsel for each party shall file and serve a trial
 8   brief, not to exceed 15 pages in length, fourteen calendar
 9   days before trial.
10         (c) Findings of Fact and Conclusions of Law
11         Counsel for each party shall file and serve initial
12   proposed findings of fact and conclusions of law fourteen
13   calendar days before trial.         Counsel for each party shall
14   also e-mail a copy of their proposed findings of fact and
15   conclusions of law to the Chambers’ e-mail address
16   (JFW_Chambers@cacd.uscourts.gov) on the date due.               Counsel
17   for each party shall then:
18               (i)     Underline in red the portions which it
19                       disputes;
20               (ii)    Underline in blue the portions which it
21                       admits; and
22               (iii)   Underline in yellow the portions which it does
23                       not dispute, but deems irrelevant.
24         Counsel may agree with a part of a finding or conclusion,
25   disagree with a part of it, and/or consider a part of it
26   irrelevant.
27         Two marked copies of opposing counsel’s proposed findings
28   of fact and conclusions of law shall be filed with the Court

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 1   seven calendar days before trial and one marked copy shall be
 2   served on opposing counsel.         Courtesy Copies shall be
 3   provided to the Court in accordance with Section 1 of this
 4   Order.
 5   8.    SETTLEMENT
 6         This Court will not conduct settlement conferences in
 7   non-jury cases which the Court will try unless counsel for
 8   all parties and their respective clients agree either in
 9   writing or on the record.         In jury cases, the Court will
10   conduct a settlement conference at the parties’ joint request
11   if three conditions exist:
12         (a)   The parties are satisfied that the fact issues in
13   the case will be tried to a jury;
14         (b)   All significant pre-trial rulings which the Court
15   must make have been made; and
16         (c)   The parties desire the Court to conduct the
17   conference, understanding that if settlement fails, the Court
18   will preside over trial of the case.
19         The parties must file a Status Report re: Settlement at
20   the time they lodge the Proposed Pre-Trial Conference Order.
21   The Status Report shall include the name and phone number of
22   the Settlement Officer who assisted the parties with their
23   settlement conference.
24         Caveat:    If counsel fail to cooperate in the preparation
25   of the required Pre-Trial documents, fail to file the
26   required Pre-Trial documents, or fail to appear at the Pre-
27   Trial Conference and such failure is not otherwise
28   satisfactorily explained to the Court: (a) the cause shall

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 1   stand dismissed for failure to prosecute if such failure
 2   occurs on the part of the plaintiff; (b) default judgment
 3   shall be entered if such failure occurs on the part of the
 4   defendant; or (c) the Court may take such action as it deems
 5   appropriate.
 6         IT IS SO ORDERED.
 7
     DATED: July 23, 2018
 8                                               JOHN F. WALTER
                                         UNITED STATES DISTRICT JUDGE
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 1                               JUDGE JOHN F. WALTER
                          SCHEDULE OF TRIAL AND PRE-TRIAL DATES
 2
 3    Matter                              Time       Weeks Plaintiff(s)   Defendant(s)   Court
                                                     before (Request)     (Request)      Order
 4                                                   trial
      Trial (jury)                        8:30 am                                           6/18/19
 5    Estimated length: 2 days

 6    [Jury trial] Hearing on Motions     10:00 am                                          6/7/19
      in Limine; Hearing on Disputed
 7    Jury Instructions

 8    [Court trial] Hearing on Motions    10:00 am                                            X
      in Limine
 9    Pre-Trial Conference (File          10:00 am                                          5/31/19
      Proposed Voir Dire Qs and
10    Agreed-to Statement of Case
      three days prior to PTC)
11
      Submit Pre-Trial Conf. Order;                                                         5/15/19
12    File Motions in Limine; Memo of
      Contentions of Fact and Law;
13    Pre-Trial Exhibit Stipulation;
      Summary of Witness Testimony
14    and Time Estimates; File Status
      Report re: Settlement; File
15    Agreed Upon Set of Jury
      Instructions and Verdict Forms;
16    File Joint Statement re Disputed
      Instructions, Verdicts, etc.
17
      Last day for hearing motions *      1:30 pm                                           4/1/19
18
      Discovery cut-off                                                                     3/15/19
19
     ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING
20   CONFERENCE
21
      Last day to conduct Settlement                                                        1/21/19
      Conference
22
      Last day to file Joint Report re:                                                     1/25/19
23    results of Settlement Conference
24
25   * Motions for class certification shall be filed in accordance with Local Rule 23-3.

26
27
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